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                                        UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF INDIANA
                                              INDIANAPOLIS DIVISION

           In re:
           VANWINKLE, DEREK LEE                                §    Case No. 14-02251-JMC-7A
           VANWINKLE, STACEY LEIGH                             §    Chapter 7
           Debtor(s)                                           §
                                                               §




                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 03/20/2014. The
    undersigned trustee was appointed on 03/20/2014.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         850,000.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                               321,921.43
                            Bank service fees                                         311.11
                            Other payments to creditors                                 0.00
                            Non-estate funds paid to 3rd Parties                  348,016.79
                            Exemptions paid to the debtor                               0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $          179,750.67
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 06/30/2016 and the deadline for filing
    governmental claims was 09/16/2014. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $28,349.16. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $12,266.09, for a
    total compensation of $12,266.092. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $133.37 for total
    expenses of $133.372.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 09/29/2018                                     By: /s/ Paul Gresk
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                     Exhibit A
                                       Individual Estate Property Record and Report                                                                  Page: 1

                                                        Asset Cases
Case No.: 14-02251-JMC-7A                                                                 Trustee Name:      (340550) Paul D. Gresk
Case Name:    VANWINKLE, DEREK LEE                                                        Date Filed (f) or Converted (c): 03/20/2014 (f)
              VANWINKLE, STACEY LEIGH
                                                                                          § 341(a) Meeting Date:       05/07/2014
For Period Ending:       09/29/2018                                                       Claims Bar Date:      06/30/2016

                                   1                              2                      3                      4                   5                     6

                           Asset Description                   Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)     Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                          and Other Costs)

    1       LAWSUITS (2) (u)                                            0.00                 10,000.00                           850,000.00                            FA

    2       7618 MOULTRIE COURT, INDPLS IN                     100,000.00                         0.00         OA                        0.00                          FA
            46217

    3       INDIANA MEMBERS CREDIT UNION                              500.00                 Unknown           OA                        0.00                          FA
            CHECKING ACCT #4404

    4       INDIANA MEMBERS CREDIT UNION                               50.00                 Unknown           OA                        0.00                          FA
            SAVINGS ACCT #4404

    5       HOUSEHOLD GOODS AND                                   2,000.00                        0.00         OA                        0.00                          FA
            FURNISHINGS

    6       BOOKS AND PICTURES                                         50.00                      0.00         OA                        0.00                          FA

    7       CLOTHING                                                  500.00                      0.00         OA                        0.00                          FA

    8       COSTUME JEWELRY AND WEDDING                               500.00                      0.00         OA                        0.00                          FA
            RINGS

    9       2012 KIA SEDONA GOOD CONDITION                      17,000.00                         0.00         OA                        0.00                          FA
            24,842 MI

   10       2007 KIA SPORTAGE GOOD                                4,500.00                        0.00         OA                        0.00                          FA
            CONDITION 47,582 MI

   10       Assets Totals (Excluding unknown values)          $125,100.00                 $10,000.00                           $850,000.00                       $0.00



 Major Activities Affecting Case Closing:

                                6/7/18 MINUTE ENTRY ORDER - MOTION GRANTED, ORDER SIGNED.
                                5/9/18 NOTICE OF HEARING ON THE APPLICATION FOR COMPENSATION FOR WILLIAM GOODEN
                                AND RONALD J WAICUKAUSKI AS SPECIAL COUNSEL WAS SET FOR JUNE 7TH AT 10:30 IN ROOM
                                325
                                5/5/18 APPLICATION FOR COMPENSATION FOR SPECIAL COUNSEL WAS FILED. ORDER ON THE
                                APPLICATION FOR SPECIAL COUNSEL WAS UPLOADED.
                                2/8/2018 ORDER GRANTING MOTION TO SETTLE WAS SIGNED BY THE JUDGE.
                                11/9/17 AMENDED MOTION TO SETTLE WAS FILED. 10/26/17 MOTION TO SETTLE WAS FILED. 10/5/17
                                RECEIVED SETTLEMENT OFFER FROM ATTORNEY AND NEED RESPONSE SUBMITTED BY THE 9TH
                                OF OCTOBER. REVIEWING PROPOSED OFFER WITH TRUSTEE.
                                03/15/16 MOTION TO REOPEN. 03/15/16 MOTION FOR RELIEF FROM JUDGMENT. 03/16/16
                                RESUBMITTED ORDER FOR RELIEF WITH NEW JUDGE'S INITIALS PER COURTS INSTRUCTIONS.
                                03/30/16 FILED NOTICE OF POSSIBLE ASSETS. 03/30/16 FILED APPLICATION TO EMPLOY SPECIAL
                                COUNSEL.

 Initial Projected Date Of Final Report (TFR): 09/30/2018                      Current Projected Date Of Final Report (TFR):            07/24/2018 (Actual)


                      09/29/2018                                                               /s/Paul D. Gresk
                           Date                                                                Paul D. Gresk




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                                                               Form 2                                                                                  Exhibit B
                                                                                                                                                       Page: 1
                                               Cash Receipts And Disbursements Record
Case No.:                 14-02251-JMC-7A                                  Trustee Name:                     Paul D. Gresk (340550)
                          VANWINKLE, DEREK LEE
Case Name:                                                                 Bank Name:                        Rabobank, N.A.
                          VANWINKLE, STACEY LEIGH
                                                                           Account #:                        ******3300 Checking
Taxpayer ID #:            **-***8072
                                                                           Blanket Bond (per case limit): $36,630,939.00
For Period Ending: 09/29/2018
                                                                           Separate Bond (if applicable): N/A

    1             2                        3                                      4                               5                      6                       7

  Trans.       Check or        Paid To / Received From          Description of Transaction       Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                          Tran. Code       $                       $

 01/22/18                 PRICE WAICUKAUSKI JOVEN &          SETTLEMENT                                          180,321.78                                        180,321.78
                          CATLIN, LLC TRUST ACCOUNT

                 {1}      PRICE WAICUKAUSKI JOVEN &          LAWSUIT SETTLEMENT                 1242-000                                                           180,321.78
                          CATLIN TRUST ACCOUNT
                                                                                 $850,000.00

                          PRICE WAICUKAUSKI JOVEN &          ATTORNEY FEES                      3210-600                                                           180,321.78
                          CATLIN
                                                                                 -$193,516.66

                          CLARK QUINN MOSES SCOTT            ATTORNEY FEES                      3210-600                                                           180,321.78
                          & GRAHN
                                                                                  -$89,816.67

                          PRICE WAICUKAUSKI JOVEN &          ATTORNEY EXPENSES                  3220-610                                                           180,321.78
                          CATLIN
                                                                                  -$32,682.95

                          CLARK QUINN MOSES SCOTT            ATTORNEY EXPENSES                  3220-610                                                           180,321.78
                          & GRAHN
                                                                                   -$5,645.15

                          MV                                                                    8500-000                                                           180,321.78

                                                                                 -$100,000.00

                          AV                                                                    8500-000                                                           180,321.78

                                                                                 -$100,000.00

                          DEREK & STACEY VANWINKLE                                              8500-000                                                           180,321.78

                                                                                 -$148,016.79

 01/31/18                 Rabobank, N.A.                     Bank and Technology Services       2600-000                                      69.16                180,252.62
                                                             Fees

 02/19/18        101      US BANKRUPTCY COURTS               FILING FEE TO REOPEN CASE          2700-000                                     260.00                179,992.62

 02/28/18                 Rabobank, N.A.                     Bank and Technology Services       2600-000                                     241.95                179,750.67
                                                             Fees

                                               COLUMN TOTALS                                                     180,321.78                   571.11             $179,750.67
                                                     Less: Bank Transfers/CDs                                            0.00                   0.00
                                               Subtotal                                                          180,321.78                   571.11
        true
                                                     Less: Payments to Debtors                                                                  0.00

                                               NET Receipts / Disbursements                                     $180,321.78                  $571.11


                                                                                                                                                         false




{ } Asset Reference(s)         UST Form 101-7-TFR (5/1/2011)                                                                    ! - transaction has not been cleared
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                                                       Form 2                                                                  Exhibit B
                                                                                                                               Page: 2
                                       Cash Receipts And Disbursements Record
Case No.:           14-02251-JMC-7A                             Trustee Name:                   Paul D. Gresk (340550)
                    VANWINKLE, DEREK LEE
Case Name:                                                      Bank Name:                      Rabobank, N.A.
                    VANWINKLE, STACEY LEIGH
                                                                Account #:                      ******3300 Checking
Taxpayer ID #:      **-***8072
                                                                Blanket Bond (per case limit): $36,630,939.00
For Period Ending: 09/29/2018
                                                                Separate Bond (if applicable): N/A




                                                                                                   NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                        NET DEPOSITS     DISBURSEMENTS               BALANCES
                                 ******3300 Checking                              $180,321.78          $571.11               $179,750.67

                                                                                  $180,321.78                   $571.11       $179,750.67




                 09/29/2018                                             /s/Paul D. Gresk
                   Date                                                 Paul D. Gresk




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                                                         Exhibit C
                                               Analysis of Claims Register
                                Case:14-02251-JMC-7A                  DEREK LEE VANWINKLE AND STACEY
                                                                                 Claims Bar Date: 06/30/16


 Claim                Claimant Name/                 Claim Type/                   Amount Filed/        Paid          Claim
                                                                     Claim Ref
  No.               <Category>, Priority              Date Filed                     Allowed          to Date        Balance

FEE      Paul Gresk                                 Administrative                      $12,266.09           $0.00    $28,349.16
         150 EAST 10TH STREET
                                                    11/09/16                            $12,266.09
         INDIANAPOLIS, IN 46204
         <2100-000 Trustee Compensation>
         , 200

TE       Paul Gresk                                 Administrative                         $133.37           $0.00       $133.37
         150 EAST 10TH STREET
                                                    02/20/18                               $133.37
         INDIANAPOLIS, IN 46204
         <2200-000 Trustee Expenses>
         , 200

1        Cohen & Malad, LLP                         Unsecured                           $44,017.64           $0.00    $44,017.64
         One Indiana Square
                                                    04/07/16                            $44,017.64
         Suite 1400
         Indianapolis, IN 46204
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

2        Discover Bank Discover Products INC        Unsecured                             $3,267.56          $0.00     $3,267.56
         P.O. Box 3025
                                                    04/08/16                              $3,267.56
         New Albany, OH 43054
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

3        Von Maur, Inc.                             Unsecured                              $159.43           $0.00       $159.43
         6565 Brady Street
                                                    04/19/16                               $159.43
         Davenport, IA 52806
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        Capital One Bank (USA), N.A.               Unsecured                             $5,814.46          $0.00     $5,814.46
         PO Box 71083
                                                    04/23/16                              $5,814.46
         Charlotte, NC 28272-1083
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                        Exhibit C
                                               Analysis of Claims Register
                                Case:14-02251-JMC-7A                DEREK LEE VANWINKLE AND STACEY
                                                                               Claims Bar Date: 06/30/16

 Claim                Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                   Claim Ref
  No.               <Category>, Priority              Date Filed                   Allowed          to Date        Balance

5        Capital One Bank (USA), N.A.               Unsecured                            $978.62           $0.00       $978.62
         PO Box 71083
                                                    04/23/16                             $978.62
         Charlotte, NC 28272-1083
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

6        Capital One Bank (USA), N.A.               Unsecured                            $921.91           $0.00       $921.91
         PO Box 71083
                                                    04/23/16                             $921.91
         Charlotte, NC 28272-1083
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

7        Capital One Bank (USA), N.A.               Unsecured                           $1,805.88          $0.00     $1,805.88
         PO Box 71083
                                                    04/23/16                            $1,805.88
         Charlotte, NC 28272-1083
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

8        Navient Solutions, Inc.                    Unsecured                           $7,161.67          $0.00     $7,161.67
         PO BOX 9640
                                                    04/26/16                            $7,161.67
         Wilkes-Barre, PA 18773-9640
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

9        Navient Solutions, Inc.                    Unsecured                           $2,145.83          $0.00     $2,145.83
         PO BOX 9640
                                                    04/26/16                            $2,145.83
         Wilkes-Barre, PA 18773-9640
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

10       Navient Solutions, Inc.                    Unsecured                         $11,963.71           $0.00    $11,963.71
         PO BOX 9640
                                                    04/26/16                          $11,963.71
         Wilkes-Barre, PA 18773-9640
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

11       Navient Solutions, Inc.                    Unsecured                           $2,067.46          $0.00     $2,067.46
         PO BOX 9640
                                                    04/26/16                            $2,067.46
         Wilkes-Barre, PA 18773-9640
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610


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                                                          Exhibit C
                                                 Analysis of Claims Register
                                 Case:14-02251-JMC-7A                 DEREK LEE VANWINKLE AND STACEY
                                                                                 Claims Bar Date: 06/30/16

 Claim                 Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                     Claim Ref
  No.                <Category>, Priority               Date Filed                   Allowed          to Date        Balance

12       Navient Solutions, Inc. Department of        Unsecured                         $76,824.42           $0.00    $76,824.42
         Education Loan Services
                                                      04/29/16                          $76,824.42
         P.O. Box 9635
         Wilkes-Barre, PA 18773-9635
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

13       Capital One NA c/o Becket and Lee LLP        Unsecured                           $2,522.69          $0.00     $2,522.69
         PO Box 3001
                                                      05/26/16                            $2,522.69
         Malvern, PA 19355-0701
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         KOHLS
14       PYOD, LLC its successors and assigns as      Unsecured                            $765.61           $0.00       $765.61
         assignee of FNBM, LLC Resurgent Capital
                                                      06/08/16                             $765.61
         Services
         PO Box 19008
         Greenville, SC 29602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         CREDIT ONE BANK
15       PYOD, LLC its successors and assigns as      Unsecured                           $2,751.85          $0.00     $2,751.85
         assignee of Citibank, N.A. Resurgent Capital
                                                      06/08/16                            $2,751.85
         Services
         PO Box 19008
         Greenville, SC 29602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         SEARS CITIBANK
16       PYOD, LLC its successors and assigns as      Unsecured                           $5,471.05          $0.00     $5,471.05
         assignee of Citibank, N.A. Resurgent Capital
                                                      06/08/16                            $5,471.05
         Services
         PO Box 19008
         Greenville, SC 29602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610
         SEARS CITIBANK

                                                                                        Case Total:          $0.00   $197,122.32



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                                                   Exhibit C
                                          Analysis of Claims Register
                                Case:14-02251-JMC-7A           DEREK LEE VANWINKLE AND STACEY
                                                                     Claims Bar Date: 06/30/16




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                                   TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                             Exhibit D


    Case No.: 14-02251-JMC-7A
    Case Name: DEREK LEE VANWINKLE AND STACEY LEIGH VANWINKLE
    Trustee Name: Paul D. Gresk

                                                    Balance on hand:       $                             179,750.67

           Claims of secured creditors will be paid as follows:

  Claim     Claimant                                        Claim        Allowed            Interim          Proposed
  No.                                                    Asserted        Amount           Payments            Payment
                                                                         of Claim           to Date


                                                       None


                                                 Total to be paid to secured creditors:       $                   0.00
                                                 Remaining balance:                           $             179,750.67

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                         Total            Interim          Proposed
                                                                       Requested          Payments            Payment
                                                                                            to Date

  Trustee, Fees - Paul Gresk                                             12,266.09                0.00       12,266.09
  Trustee, Expenses - Paul Gresk                                            133.37                0.00          133.37
                       Total to be paid for chapter 7 administrative expenses:                $              12,399.46
                       Remaining balance:                                                     $             167,351.21

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                  Total            Interim             Proposed
                                                                    Requested        Payments            Payment

                                                       None


                     Total to be paid for prior chapter administrative expenses:              $                   0.00
                     Remaining balance:                                                       $             167,351.21




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

            Allowed priority claims are:
  Claim       Claimant                              Allowed Amount         Interim Payments             Proposed
  No.                                                      of Claim                  to Date             Payment

                                                        None


                                                     Total to be paid for priority claims:      $            0.00
                                                     Remaining balance:                         $      167,351.21

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $168,639.79 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 99.2 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount         Interim Payments             Proposed
  No.                                                      of Claim                  to Date             Payment

  1           Cohen & Malad, LLP                           44,017.64                     0.00           43,681.31
  2           Discover Bank Discover Products               3,267.56                     0.00            3,242.59
              INC
  3           Von Maur, Inc.                                   159.43                    0.00              158.21
  4           Capital One Bank (USA), N.A.                  5,814.46                     0.00            5,770.03
  5           Capital One Bank (USA), N.A.                     978.62                    0.00              971.14
  6           Capital One Bank (USA), N.A.                     921.91                    0.00              914.87
  7           Capital One Bank (USA), N.A.                  1,805.88                     0.00            1,792.08
  8           Navient Solutions, Inc.                       7,161.67                     0.00            7,106.95
  9           Navient Solutions, Inc.                       2,145.83                     0.00            2,129.43
  10          Navient Solutions, Inc.                      11,963.71                     0.00           11,872.30
  11          Navient Solutions, Inc.                       2,067.46                     0.00            2,051.66
  12          Navient Solutions, Inc.                      76,824.42                     0.00           76,237.40
              Department of Education Loan
              Services
  13          Capital One NA c/o Becket and                 2,522.69                     0.00            2,503.41
              Lee LLP
  14          PYOD, LLC its successors and                     765.61                    0.00              759.76
              assigns as assignee of FNBM,
              LLC Resurgent Capital Services
  15          PYOD, LLC its successors and                  2,751.85                     0.00            2,730.82
              assigns as assignee of Citibank,
              N.A. Resurgent Capital Services
  16          PYOD, LLC its successors and                  5,471.05                     0.00            5,429.25
              assigns as assignee of Citibank,
              N.A. Resurgent Capital Services


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                        Total to be paid for timely general unsecured claims:                $          167,351.21
                        Remaining balance:                                                   $                0.00

           Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
    paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
    have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
    applicable).
           Tardily filed general (unsecured) claims are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                        Total to be paid for tardily filed general unsecured claims:         $                 0.00
                        Remaining balance:                                                   $                 0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                     of Claim                 to Date                Payment

                                                        None


                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $                   0.00




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